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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION
                                AT COVINGTON

 NICHOLAS SANDMANN, by and                   :   CASE NO.
 through his parents and natural             :
 guardians, TED SANDMANN and                 :   JUDGE
 JULIE SANDMANN,                             :
                                             :   PLAINTIFF’S COMPLAINT WITH
               Plaintiffs,                   :   JURY DEMAND
                                             :
 v.                                          :
                                             :
 WP COMPANY LLC d/b/a THE                    :
 WASHINGTON POST,                            :
                                             :
               Defendant.                    :
                                             :


       NOW COMES Nicholas Sandmann, by and through his parents and natural

guardians, Ted Sandmann and Julie Sandmann, and by and through his counsel, states

his Complaint against Defendant, WP Company LLC d/b/a The Washington Post (“the

Post”) as follows:

                                   INTRODUCTION

       1.      The Post is a major American daily newspaper published in Washington,

D.C. which is credited with inventing the term "McCarthyism" in an editorial cartoon

published in 1950. Depicting buckets of tar, the cartoon made fun of then United States

Senator Joseph McCarthy's "tarring" tactics of engaging in smear campaigns and

character assassination against citizens whose political views made them targets of his

accusations.

       2.      In a span of three (3) days in January of this year commencing on January

19, the Post engaged in a modern-day form of McCarthyism by competing with CNN and


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NBC, among others, to claim leadership of a mainstream and social media mob of bullies

which attacked, vilified, and threatened Nicholas Sandmann (“Nicholas”), an innocent

secondary school child.

      3.     The Post wrongfully targeted and bullied Nicholas because he was the white,

Catholic student wearing a red “Make America Great Again” souvenir cap on a school field

trip to the January 18 March for Life in Washington, D.C. when he was unexpectedly and

suddenly confronted by Nathan Phillips (“Phillips”), a known Native American activist,

who beat a drum and sang loudly within inches of his face (“the January 18 incident”).

      4.     Nicholas stood quietly and respectfully for several minutes after being

targeted and bullied by Phillips and Nicholas’ body language remained non-aggressive

and passive throughout the incident.

      5.     Nicholas is 16-years of age, is 5’9” in height and weighs 115 pounds.

      6.     The school field trip to the Nation’s capital was the first out-of-state trip

Nicholas had ever taken without being with his family.

      7.     In targeting and bullying Nicholas by falsely accusing him of instigating the

January 18 incident, the Post conveyed that Nicholas engaged in acts of racism by

“swarming” Phillips, “blocking” his exit away from the students, and otherwise engaging

in racist misconduct.

      8.     The Post ignored basic journalist standards because it wanted to advance its

well-known and easily documented, biased agenda against President Donald J. Trump

(“the President”) by impugning individuals perceived to be supporters of the President.

      9.     As a 16-year old secondary school student, Nicholas’ political beliefs are

anything but established and entrenched in his young mind.



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       10.    Nicholas has zero history of political activism or aggressiveness and did not

exhibit any such conduct even when confronted with unbridled racist attacks by activist

bullies at the National Mall.

       11.    The Post’s campaign to target Nicholas in furtherance of its political agenda

was carried out by using its vast financial resources to enter the bully pulpit by publishing

a series of false and defamatory print and online articles which effectively provided a

worldwide megaphone to Phillips and other anti-Trump individuals and entities to smear

a young boy who was in its view an acceptable casualty in their war against the President.

       12.    Unlike the Post’s abuse of the profession of journalism, Plaintiffs do not

bring this lawsuit to use the judicial system to further a political agenda. This lawsuit is

brought against the Post to seek legal redress for its negligent, reckless, and malicious

attacks on Nicholas which caused permanent damage to his life and reputation.

       13.    The Post bullied an innocent child with an absolute disregard for the pain

and destruction its attacks would cause to his life.

       14.    The Post proved itself to be a loud and aggressive bully with a bully pulpit.

       15.    In this country, our society is dedicated to the protection of children

regardless of the color of their skin, their religious beliefs, or the cap they wear.

       16.    But the Post did not care about protecting Nicholas. To the contrary, the

Post raced with a reckless disregard of the facts and truth because in this day and time

there is a premium for being the first and loudest media bully.

       17.    The Post wanted to lead the charge against this child because he was a pawn

in its political war against its political adversary – a war so disconnected and beyond the

comprehension of Nicholas that it might as well have been science fiction.



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       18.    The Post must be dealt with the same way every bully is dealt with and that

is hold the bully fully accountable for its wrongdoing in a manner which effectively deters

the bully from again bullying other children. In a civil lawsuit, punishment and deterrence

is found in awarding money damages to the victim and target of the bully.

       19.    In order to fully compensate Nicholas for his damages and to punish, deter,

and teach the Post a lesson it will never forget, this action seeks money damages in excess

of Two Hundred and Fifty Million Dollars ($250,000,000.00) – the amount Jeff Bezos,

the world’s richest person, paid in cash for the Post when his company, Nash Holdings,

purchased the newspaper in 2013.

                            THE JANUARY 18 INCIDENT

       20.    On January 18, 2019, Nicholas attended the March for Life on a school trip

chaperoned by sixteen adults, nine of whom were faculty members at Nicholas’ school,

Covington Catholic High School (“CovCath”).

       21.    Nicholas and his classmates were instructed to meet at the steps of the

Lincoln Memorial at the National Mall by 5:00 p.m. to catch their buses for the return

trip to Kentucky.

       22.    Nicholas was wearing a red cap Make America Great Again cap (“MAGA

cap”) that he had purchased that day as a souvenir.

       23.    While at the National Mall, a small group of adult gentlemen who describe

themselves as Hebrew Israelites – a known hate group – began verbally assaulting and

taunting Nicholas and his CovCath classmates with, including but not limited to, threats

of physical violence and vitriol, calling the students “incest babies,” “dirty ass crackers,”

and “future school shooters.”



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       24.      One of Nicholas’ classmates requested and received permission from a

school chaperone to engage in CovCath school sports cheers in an effort to ignore and

drown out the hate speech being hurled at them by the Hebrew Israelites.

       25.      The school cheer is intended and undertaken to promote unity and school

pride and should have been correctly seen as a positive act, not a racist act.

       26.      During the school cheer, Phillips and a small group of his companions – all

of whom had been participating in the Indigenous Peoples March at the National Mall

that day – instigated a confrontation with Nicholas and his CovCath classmates.

       27.      Rather than focusing their attention on the Hebrew Israelites, who had been

relentlessly insulting both the teenagers for almost an hour and the Native Americans

attending the Indigenous Peoples March before that, Phillips and his activist companions

approached the CovCath students from a distance while beating drums, singing, dancing,

and carrying cameras to capture the confrontation on video.

       28.      Apparently, Phillips, a phony war hero, was too intimidated by the unruly

Hebrew Israelites to approach them, the true troublemakers, and instead chose to focus

on a group of innocent children – a much safer endeavor for activist tactics of

intimidation.

       29.      When Phillips first approached them, many of the CovCath students “felt

like he was coming into their group to join in with the students’ cheers.”

       30.      Phillips intentionally walked up to the crowd of CovCath students.

       31.      The CovCath students did not move toward Phillips or otherwise actively

approach or surround Phillips.

       32.      Nicholas and the students merely acquiesced in Phillips’ election to enter

their group and beat his drum within inches of Nicholas’ face.

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       33.    Once within their group, Phillips freely moved about, briefly walking up to

certain students within the group, which included many children who were not CovCath

students.

       34.    Phillips then walked directly up to where Nicholas was standing on the steps

of the Lincoln Memorial so that he could confront Nicholas and bully him by getting in

his face.

       35.    Phillips, a 64-year-old man attired in Native American garb and a stranger

to Nicholas, continued to beat his drum and sing loudly within inches of Nicholas’ face for

several minutes while staring at Nicholas.

       36.    Contrary to his false statements in media interviews after the January 18

incident that he was trying to move to the top of the steps of the Lincoln Memorial,

Phillips approached the students from a distance and walked past clear pathways to the

steps to the Lincoln Memorial.

       37.    Moreover, when Phillips then waded into the students’ crowd and

specifically confronted Nicholas, Phillips never made any attempt to move past, around,

or away from Nicholas even though he could have done so at any time.

       38.    Prior to being directly confronted by Phillips, Nicholas had not noticed

Phillips at the National Mall.

       39.    Nicholas did not confront Phillips.

       40.    Nicholas did not move toward Phillips.

       41.    Nicholas did not make any movement to block Phillips’ path or prevent

Phillips from physically moving wherever he wished.

       42.    Nicholas was startled and confused by the actions of Phillips in singling him

out and confronting him.

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         43.     During the confrontation instigated by Phillips, Nicholas stood still as he

was concerned that turning away from Phillips might be considered a sign of disrespect.

         44.     While he stood there with Phillips beating a drum near his face and singing

loudly, Nicholas remained silent and did not utter a single word to Phillips.

         45.     Nicholas did not make any gestures by hand or otherwise toward Phillips.

         46.     Nicholas made only one gesture while being confronted by Phillips – he

quietly signaled a classmate to refrain from responding to profanity-laced insults being

directed at the student by one of Phillips’ companions.

         47.     At all times, Nicholas acted respectfully, responsibly, appropriately, and in

a manner consistent with the values instilled upon him by his family and his religious

faith.

         48.     The confrontation ended when Nicholas and his fellow CovCath students

were instructed to board the buses.

         49.     Indeed, when Nicholas walked away quietly to board the bus, Phillips

turned away from the Lincoln Memorial and outwardly celebrated some perceived “win”

over Nicholas and his CovCath classmates, with his companion shouting “I got him, man,

I got him! … We won grandpa, we fucking won grandpa!”

         50.     During the January 18 incident, Nicholas:

                 (a)    did not swarm or otherwise actively surround Phillips;

                 (b)    did not target or confront Phillips;

                 (c)    did not assault or physically intimidate Phillips in any manner;

                 (d)    did not move from where he was standing when Phillips approached

               him;

                 (e)    did not block Phillips’ path or egress;

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                (f)    did not taunt or mock Phillips or anyone else present;

                (g)    did not utter a single word toward Phillips;

                (h)    did not engage in chanting, jeering, or clapping with or at Phillips;

                (i)    did not taunt or hurl any political chant or racial slur at anyone,

             including Phillips, any other Native American, or the Hebrew Israelites; and

                (j)    did not engage in any conduct whatsoever that could be accurately

             described or characterized as racist.

       51.      On January 19, 20 and 21, the Post ignored the truth and falsely accused

Nicholas of, among other things, “accost[ing]” Phillips by “suddenly swarm[ing]” him in

a “threaten[ing]” and “physically intimidat[ing]” manner as Phillips “and other activists

were wrapping up the march and preparing to leave,” “block[ing]” Phillips path, refusing

to allow Phillips “to retreat,” “taunting the dispersing indigenous crowd,” chanting “build

that wall,” “Trump2020,” or “go back to Africa,” and otherwise engaging in racist and

improper conduct which ended only “when Phillips and other activists walked away.”

                 ONLINE VIDEOS OF THE JANUARY 18 INCIDENT

       52.      On the evening of January 18, 2019, at 7:33 p.m., Kaya Taitano, a

participant in the Indigenous Peoples March, posted online a selectively edited 59 second

video depicting only a small portion of the interaction between Nicholas and Phillips, and

later that night, she posted a 3 minute 44 second video. (collectively, the “Taitano

Videos”).

       53.      The Taitano Videos did not show, among other things:

                (a)    the Hebrew Israelites’ misconduct and homophobic, racist slurs

             directed to the CovCath students;



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               (b)    that Phillips had approached the students and inserted himself into

            their area before confronting Nicholas;

               (c)    that the students were already engaged in school cheers at the time

            Phillips approached;

               (d)    Nicholas engaging in any misconduct;

               (e)    Nicholas making any gesture of any kind except to, at times,

            awkwardly smile;

               (f)    Nicholas uttering any words to Phillips or his companions;

               (g)    Nicholas moving into Phillips’ path;

               (h)    Nicholas blocking Phillips’ exit; or

               (i)    Nicholas physically or verbally threatening Phillips in any manner.

      54.      At 11:13 p.m. on January 18, 2019, @2020fight, a fake Twitter account with

a following of approximately 41,000, tweeted a 1 minute 1 second clip from the Taitano

Videos with the comment “This MAGA loser gleefully bothering a Native American

protestor at the Indigenous Peoples March.” (the “2020fight Video”).

      55.      The 2020fight Video, alone, is reported as having been viewed at least

2,500,000 million times, retweeted 14,000 times, and liked 27,000 times before the

account was suspended by Twitter no later than January 21.

      56.      Snapshots of the 2020fight video show it to have been viewed at least 10.6

million times.

      57.      According to media reports, the @2020fight account was created in

December 2016, tweeted an average of 130 times a day, and was suspicious for its high

follower count, unusually high rate of tweets, highly polarized and yet inconsistent

political messaging, and the use of someone else’s image in the profile photo.

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          58.   In fact, as acknowledged by the Post on January 23, the @2020fight account

 was likely a fraudulent account available for sale on Shoutcart.com.

          59.   By January 23, the Post conceded that the @2020fight account that was

 largely responsible for the edited video going viral on social media may have been

 purchased from Shoutcart.com for that specific purpose.

          60.   With no investigation into the @2020fight account, the Post actively,

 negligently, and recklessly participated in making the 2020fight Video go viral on social

 media when on January 19 at 9:21 a.m., Post reporter Joe Heim re-posted the 2020fight

 Video.

          61.   The Post was the one of the first, if not the first, mainstream media outlet to

 expand coverage of the January 18 incident from social media to mainstream media.

          62.   Post reporter Heim was given credit for contributing to the Post’s first

 online article within approximately four (4) hours of his retweet of the 2020fight Video

 and was listed on the by-line in the Post’s first print article, along with Antonio Olivo and

 Cleve R. Wootson, Jr.

          63.   An accurate video as to what occurred on January 18, 2019, was available

 online on January 19, 2019, when Shar Yaqataz Banyamyan, one of the Hebrew Israelites

 who was present for the encounter between Phillips and Nicholas, posted a 1 hour and

 46-minute video on Facebook (the “Banyamyan Video”). 1

          64.   A plethora of relevant video was also available online but ignored by the

 Post and the mainstream and social media mob of bullies which the Post sought to lead

 to further its biased agenda.



 1See https://www.youtube.com/watch?v=t3EC1_gcr34&feature=youtu.be&t=523 (last visited February
 17, 2019).

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       65.    From online video and fair use of media broadcasts, Nicholas’ counsel

 produced a fourteen-minute video distilling what occurred on January 18, entitled

 “Nicholas Sandmann: The Truth in 15 Minutes” (the “Sandmann Video”), available at

 https://www.youtube.com/watch?v=lSkpPaiUF8s.

       66.    The Banyamyan and Sandmann Videos accurately set forth the truth of the

 January 18 incident.

       67.    The Banyamyan and Sandmann Videos demonstrate that this incident was

 intentionally instigated by Phillips and that Nicholas was targeted by a professional

 activist whose false accusations neatly fit the mainstream and social media’s anti-Trump

 agenda.

       68.    The Banyamyan and Sandmann Videos demonstrate that Nicholas did not

 engage in any of the misconduct described by the Post.

                    NICHOLAS’ STATEMENT AND NBC INTERVIEW

       69.    On the afternoon of January 20, in an attempt to stem the threats of physical

 violence being made against him, his family, and his CovCath classmates, Nicholas made

 public a statement in which he provided a detailed and accurate factual description of the

 January 18 incident. A copy of Nicholas’ January 20 statement is attached hereto as

 Exhibit A.

       70.    On January 23, in a further attempt to stem the threats of physical violence

 being made against him, his family, and his CovCath classmates, Nicholas gave an

 interview to Savannah Guthrie on the Today show on NBC, in which he reiterated his

 detailed and accurate factual description of his encounter with Phillips in the face of

 accusatory questioning by Guthrie.



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                       AN INVESTIGATION REVEALS THE TRUTH

        71.    The Post did not conduct a proper investigation before publishing its false

 and defamatory statements of and concerning Nicholas.

        72.    A false and defamatory statement of and concerning Nicholas was also

 published by the Diocese of Covington on January 19 before a proper investigation had

 been conducted by the Diocese.

        73.    Subsequently, the Diocese of Covington retained through its counsel a

 third-party investigative firm, Greater Cincinnati Investigation, Inc. (“GCI”), to formally

 determine what occurred during the January 18 incident at the National Mall.

        74.    On February 11, 2019, GCI issued its Final Investigative Report (the “GCI

 Report”), a true and correct copy of which is attached hereto as Exhibit B.

        75.    On February 11, 2019, Diocese Bishop Foys released the GCI Report and

 said in a letter to the Covington Catholic parents that the GCI Report exonerated the

 students and demonstrated that the students did not instigate the incident at the Lincoln

 Memorial. A true and correct copy of said letter is attached hereto as Exhibit C.

        76.    The GCI Report is entirely consistent with all video evidence as well as

 statements issued by Nicholas and other CovCath students and chaperones.

        77.    According to the GCI Report, four (4) licensed investigators spent

 approximately 240 man hours investigating the incident, interviewed 43 students and 13

 chaperones, reviewed approximately 50 hours of Internet activity, and attempted to

 interview Phillips, who failed to respond to phone calls, emails, or investigators who

 waited outside his home for 6 hours and left a note asking him to contact them.

        78.    The GCI Report made the following key findings:



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                (a)      Nicholas’ January 20 statement accurately reflects the January 18

             incident.

                (b)      There was “no evidence that students responded [to the Black

             Hebrew Israelites] with any offensive or racist statements of their own.”

                (c)      The students asked their chaperones if they could perform school

             cheers to drown out the Hebrew Israelites’ invective, and upon receiving

             approval, they performed the same cheers that are commonly performed at

             football or basketball games.

                (d)      There was “no evidence that the students performed a ‘Build the

             Wall’ chant.”

                (e)      Defendant Phillips approached the Covington Catholic students.

                (f)      There was “no evidence of offensive or racist statements by students

             to Mr. Phillips or members of his group.”

                (g)      The majority, if not all, of the MAGA hats being worn by students

             were purchased before, during, or after the March for Life.

                (h)      In previous years, some students had purchased ‘Hope’ hats in

             support of President Obama.

                (i)      “Mr. Phillips’ public interviews contain some inconsistencies. . . .”

                  PHILLIPS’ INCONSISTENT AND FALSE CLAIMS

       79.      Phillips is known to have given at least six interviews to mainstream media,

 including the Post, CNN, The Associated Press, Detroit Free Press, MSNBC, and

 Democracy Now.

       80.      The accusations of Phillips and his companions, as published by the Post

 and the others identified above are remarkable in their inconsistency with each other.

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          81.   According to the first Post print article, Phillips stated that the students

 “suddenly swarmed around him as he and other activists were wrapping up the march.”

          82.   According to The Associated Press, Phillips stated that “he felt compelled to

 get between two groups with his ceremonial drum to defuse a confrontation.”

          83.   According to the first Post online article, Phillips said he was trying to “exit

 out of this situation and finish my song at the Lincoln Memorial.”

          84.   According to the second Post print article, “Phillips said he was trying to

 reach the top of the memorial, where friends were standing.”

          85.   According to Democracy Now!, Phillips stated that “I wasn’t focusing on

 anybody except taking the youth out of there, the Indigenous youth that was with me, out

 of that situation, and that’s when Mr. Sandmann stood in front of me and blocked my

 path.”

          86.   According to the first Post print article, Phillips stated that it “was getting

 ugly” and he needed to find “an exit out” of there, but Nicholas “blocked [his] way and

 wouldn’t allow me to retreat.”

          87.   But according to the second Post print article, Phillips queried “why should

 I go around him?”

          88.   Despite Phillips’ claim that the students yelled “build that wall,” “go back to

 Africa,” and “go back to the reservation,” no video evidence exists substantiating this

 accusation.

          89.   Despite an attorney for the Lakota People Law Project, Chase Iron Eyes’,

 claim as reported in the first Post print article that the incident “ended when Phillips and

 other activists walked away” and Phillips’ claim that he was trying to reach the top of the



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 steps, the incident ended only when Nicholas left for his bus and Phillips then turned

 away from the top of the stairs and celebrated his perceived “win” with his companions.

        90.    Despite Phillips’ claims that the students left because they were “running

 from the police,” the video evidence and statements of witnesses demonstrate that the

 students left to catch their buses.

        91.    Although Phillips has previously claimed to have served in Vietnam, it is

 now evident that though Phillips was in the Marines, he was never deployed overseas.

                                 THE POST COVERAGE

        92.    The Post rushed to lead the mainstream media to assassinate Nicholas’

 character and bully him, publishing their first article no later than 1:37 p.m. January 19.

 This story was not “hot” or “breaking news.” To the extent the Post performed any

 investigation at all into what occurred, its unreasonable investigation did not take long,

 and contrary information did not stop it from publishing its first story in its Sunday

 newspaper the next day. One of the reporters on the story first retweeted the video

 approximately four hours before receiving credit for the Post’s first article. In the

 intervening time, the Post apparently managed to track down and interview Phillips, write

 a story, and fan the flames of the social media mob into a mainstream media frenzy of

 false attacks and threats against Nicholas.

        93.    In the Post’s own words – albeit a far cry from the true scope of the false and

 defamatory accusations it made against Nicholas – the readers of the Post’s coverage were

 “licensed to conclude that the students saw [Phillips] from afar, targeted him and

 advanced.” Of course, the Post’s readers were also licensed to falsely conclude that

 Nicholas physically and verbally assaulted Phillips while blocking his egress from a mob

 of students who were similarly engaged in racist conduct.

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        94.    The Post, whose coverage emphasized that Nicholas was wearing a “MAGA”

 hat, contributed to the rampant cyber-assault and cyber-bullying suffered by Nicholas in

 the aftermath of its initial reporting which was also undertaken in mass by the mob of

 other bullies made up of other members of the mainstream media, individuals tweeting

 on Twitter, church officials, celebrities, and politicians.

        95.    Even the Twitter platform itself jumped into the bully pulpit and was

 influenced by early media coverage of the Post, as demonstrated when its “moment”

 feature falsely accused Nicholas and his classmates of “mocking” Phillips. According to

 reports, a Twitter spokesperson stated “Twitter Curation strives to fairly and accurately

 contextualize the nature of large conversations on the platform … The original Covington

 video appeared on Friday night. However, the Curation team did not compile a Moment

 until additional news media reporting emerged to provide context to the video – this

 included a source video interview with Nathan Phillips, which was featured in the

 Moment.”

                       PARTIES, JURISDICTION, AND VENUE

        96.    Nicholas Sandmann and his parents reside in Kenton County, Kentucky.

        97.    Nicholas is a 16-year old 11th grade student who attends CovCath, an all-

 male Catholic high school in Park Hills, Kentucky.

        98.    The Post is a foreign corporation existing under the laws of the State of

 Delaware with its principal place of business being located at 1301 K. Street NW,

 Washington, D.C. 20071. The Post may be served by delivery of a copy of the summons

 and complaint to its duly-appointed registered agent, C T Corporation System, 1015 15th

 Street NW, Suite 1000, Washington, D.C. 20005.



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         99.    There exists complete diversity of citizenship between Plaintiffs and the

 Post.

         100.   The amount in controversy greatly exceeds Seventy-Five Thousand Dollars

 ($75,000.00), exclusive of interests, costs, and attorneys’ fees, as required to sustain

 subject-matter jurisdiction in this Court.

         101.   This Court has subject-matter jurisdiction over this matter pursuant to 28

 U.S.C. § 1332(a).

         102.   The Post has one of the largest print circulations and number of online

 subscribers in the country.

         103.   The Post transacts business in the State of Kentucky, including through the

 sale of print newspapers and online subscriptions, and committed the tortious acts

 identified herein in the State of Kentucky.

         104.   The Post published the print and online articles identified herein in the

 State of Kentucky.

         105.   The Post has intentionally sought and obtained benefits from their tortious

 acts in the State of Kentucky.

         106.   The Post directed its unlawful and bullying conduct at Nicholas, a citizen of

 Kentucky.

         107.   Nicholas suffered substantial reputational and emotional harm in this

 District.

         108.   There is a reasonable and direct nexus between the Post’s tortious conduct

 in Kentucky and the harm suffered by Nicholas in Kentucky and beyond.

         109.   The Post is subject to the jurisdiction of this Court pursuant to KRS 454.210.



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        110.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

 Post is subject to personal jurisdiction in this District and/or a substantial part of the

 events giving rise to this claim occurred in this District, including publication and injury.

                             CAUSE OF ACTION FOR DEFAMATION

        111.   Nicholas reasserts and incorporates by reference paragraphs 1 through 110

 of this Complaint as if fully restated herein.

        112.   The Post published to third parties without privilege no less than six false

 and defamatory articles of and concerning Nicholas, including two in its print newspaper

 and four online. This number does not include those articles that the Post updated and

 changed after initial publication.

        113.   On January 19, 2019, the Post published online its first false and defamatory

 article entitled “‘It was getting ugly’: Native American drummer speaks on MAGA-hat

 wearing teens who surrounded him” (the “First Article”). A true and correct copy of the

 First Article is attached hereto as Exhibit D.

        114.   The First Article features Nicholas prominently by publication of the

 @2020fight and/or Taitano Videos and emphasizing his alleged involvement as the “one

 standing about a foot from the drummer’s face wearing a relentless smirk.”

        115.   The First Article communicated the false and defamatory gist that Nicholas

 instigated a confrontation with Phillips and subsequently engaged in racist conduct.

        116.   The First Article communicated the false and defamatory gist that Nicholas

 assaulted and/or physically intimidated Phillips.

        117.   The First Article communicated the false and defamatory gist that Nicholas

 engaged in racist taunts.



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       118.   In its First Article, the Post published or republished the following false and

 defamatory statements:

              (a)      The headline “‘It was getting ugly’: Native American drummer speaks

          on the MAGA-hat wearing teens who surrounded him.”

              (b)      “In an interview Saturday, Phillips, 64, said he felt threatened by the

          teens and that they suddenly swarmed around him as he and other activists

          were wrapping up the march and preparing to leave.”

              (c)      “Phillips, who was singing the American Indian Movement song of

          unity that serves as a ceremony to send the spirits home, said he noticed

          tensions beginning to escalate when the teens and other apparent participants

          from the nearby March for Life rally began taunting the dispersing indigenous

          crowd.”

              (d)      “A few people in the March for Life crowd began to chant ‘Build that

          wall, build that wall,’ he said.”

              (e)      “‘It was getting ugly, and I was thinking: ‘I’ve got to find myself an

          exit out of this situation and finish my song at the Lincoln Memorial,’ Phillips

          recalled. ‘I started going that way, and that guy in the hat stood in my way and

          we were at an impasse. He just blocked my way and wouldn’t allow me to

          retreat.’”

              (f)      “‘It clearly demonstrates the validity of our concerns about the

          marginalization and disrespect of Indigenous peoples, and it shows that

          traditional knowledge is being ignored by those who should listen most closely,’

          Darren Thompson, an organizer for the [Indigenous Peoples Movement], said

          in the statement.”

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               (g)    “Chase Iron Eyes, an attorney with the Lakota People Law Project,

           said the incident lasted about 10 minutes and ended when Phillips and other

           activists walked away.”

               (h)    “‘It was an aggressive display of physicality. They were rambunctious

           and trying to instigate a conflict,’ he said. ‘We were wondering where their

           chaperones were. [Phillips] was really trying to defuse the situation.’”

               (i)    “Phillips, an Omaha tribe elder who also fought in the Vietnam war,

           has encountered anti-Native American sentiments before . . . .”

       119.    On January 20, the Post updated its Second Article (the “Second Article”).

 A true and correct copy of the Second Article is attached hereto as Exhibit E.

       120.    The Second Article, as updated and in addition to the gists identified above

 in the First Article, communicated the false and defamatory gist that Nicholas’ behavior

 violated the fundamental standards of his religious community and violated the policies

 of his school such that he should be expelled.

       121.    In its false and defamatory Second Article, in addition to those identified in

 the First Article, the Post published or republished the following false and defamatory

 statements:

               (a)    “‘We [Bishop Foys and the Diocese of Covington] condemn the

           actions of the Covington Catholic High School students towards Nathan

           Phillips specifically, and Native Americans in general,’ the statement said. ‘The

           matter is being investigated and we will take appropriate action, up to and

           including expulsion.’ … The diocese’s statement expressed regret that jeering,

           disrespectful students from a Catholic school had become the enduring image

           of the march.”

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        122.   On January 20, 2019, the Post published in print its third false and

 defamatory article entitled “Marcher’s accost by boys in MAGA caps draws ire” (the “Third

 Article”). A true and correct copy of the Third Article is attached hereto as Exhibit F.

        123.   The Third Article was published in the Post’s Sunday edition of its

 newspaper.

        124.   The Third Article referenced the viral @2020fight and/or Taitano Videos

 that had gone viral, prominently featuring Nicholas, and emphasized Nicholas’ alleged

 involvement as the “one standing about a foot from the drummer’s face wearing a

 relentless smirk.”

        125.   The Third Article communicated the false and defamatory gist that Nicholas

 instigated a confrontation with Phillips and subsequently engaged in racist conduct.

        126.   The Third Article communicated the false and defamatory gist that Nicholas

 assaulted and/or physically intimidated Phillips.

        127.   The Third Article communicated the false and defamatory gist that

 Nicholas’ behavior violated the fundamental standards of his religious community.

        128.   The Third Article communicated the false and defamatory gist that

 Nicholas’ behavior violated the policies of his school such that he should be expelled.

        129.   In its Third Article, the Post published or republished the following false

 and defamatory statements:

               (a)    The headline “Marcher’s accost by boys in MAGA caps draws ire.”

               (b)    “In an interview Saturday, Phillips, 64, said he felt threatened by the

           teens and that they suddenly swarmed around him as he and other activists

           were wrapping up the march and preparing to leave.”



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             (c)       “Phillips, who was singing the American Indian Movement song that

          serves as a ceremony to send the spirits home, said he noticed tensions

          beginning to escalate when the teens and other apparent participants from the

          nearby March for Life rally began taunting the dispersing indigenous crowd.”

             (d)       “A few people in the March for Life crowd began to chant ‘Build that

          wall, build that wall,’ he said.”

             (e)       “‘It was getting ugly, and I was thinking: ‘I’ve got to find myself an

          exit out of this situation and finish my song at the Lincoln Memorial,’ Phillips

          recalled. ‘I started going that way, and that guy in the hat stood in my way and

          we were at an impasse. He just blocked my way and wouldn’t allow me to

          retreat.’”

             (f)       “‘It clearly demonstrates the validity of our concerns about the

          marginalization and disrespect of Indigenous peoples, and it shows that

          traditional knowledge is being ignored by those who should listen most closely,’

          Darren Thompson, an organizer for the [Indigenous Peoples Movement], said

          in the statement.”

             (g)       “‘We [Bishop Foys and the Diocese of Covington] condemn the

          actions of the Covington Catholic High School students towards Nathan

          Phillips specifically, and Native Americans in general,’ the statement said. ‘The

          matter is being investigated and we will take appropriate action, up to and

          including expulsion.’”

             (h)       “Chase Iron Eyes, an attorney with the Lakota People Law Project,

          said the incident lasted about 10 minutes and ended when Phillips and other

          activists walked away.”

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               (i)    “‘It was an aggressive display of physicality. They were rambunctious

           and trying to instigate a conflict,’ he said. ‘We were wondering where their

           chaperones were. [Phillips] was really trying to defuse the situation.’”

               (j)    “In that role, he [Phillips] has encountered anti-Native American

           sentiment before . . . .”

        130.   On January 20, 2019, the Post published online its fourth false and

 defamatory article entitled “Opposed to the dignity of the human person’: Kentucky

 Catholic diocese condemns teens who taunted vet at March for Life” (the “Fourth

 Article”). A true and correct copy of the Fourth Article is attached hereto as Exhibit G.

        131.   The Fourth Article referenced the viral @2020fight and/or Taitano Videos

 that had gone viral, prominently featuring Nicholas, and emphasized Nicholas’ alleged

 involvement as being the “teen, shown smirking at him in the video, was blocking him

 from moving.”

        132.   The Fourth Article communicated the false and defamatory gist that

 Nicholas instigated a confrontation with Phillips and engaged in racist conduct.

        133.   The Fourth Article communicated the false and defamatory gist that

 Nicholas assaulted Phillips.

        134.   The Fourth Article communicated the false and defamatory gist that

 Nicholas’ behavior violated the fundamental standards of his religious community.

        135.   The Fourth Article communicated the false and defamatory gist that

 Nicholas’ behavior violated the policies of his school such that he should be expelled.

        136.   In its Fourth Article, the Post published or republished the following false

 and defamatory statements:



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              (a)    The headline “Opposed to the dignity of the human person’:

           Kentucky Catholic diocese condemns teens who taunted vet at March for Life.”

              (b)    “A viral video of a group of Kentucky teens in ‘Make America Great

           Again’ hats taunting a Native American veteran on Friday …”

              (c)    “A few of the young people chanted ‘Build that wall, build that wall,’

           the man said, adding that a teen, shown smirking at him in the video, was

           blocking him from moving.”

              (d)    “‘We condemn the actions of the Covington Catholic high school

           students towards Nathan Phillips specifically, and Native Americans in

           general,’ a statement by the Roman Catholic Diocese of Covington and

           Covington Catholic High School read. ‘We extend our deepest apologies to Mr.

           Phillips. This behavior is opposed to the Church’s teachings on the dignity and

           respect of the human person. The matter is being investigated and we will take

           appropriate action, up to and including expulsion.’”

       137.   On January 20, 2019, the Post published online its fifth false and

 defamatory article entitled “Most young white men are much more open to diversity than

 older generations” (the “Fifth Article”). A true and correct copy of the Fifth Article is

 attached hereto as Exhibit H.

       138.   The Fifth Article emphasized Nicholas’ alleged involvement by stating that

 “one of their [the students’] members appeared to physically intimidate Nathan Phillips

 …”

       139.   The Fifth Article communicated the false and defamatory gist that Nicholas

 instigated a confrontation with Phillips and subsequently engaged in racist conduct.



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        140.   The Fifth Article communicated the false and defamatory gist that Nicholas

 assaulted and/or physically intimidated Phillips.

        141.   In its Fifth Article, the Post published or republished the following false and

 defamatory statements:

               (a)    “Friday’s incident near the Lincoln Memorial in which a group of

           high school boys confronted an elderly Native American man sent a ripple of

           fear and anger across the country. The image of a group of high school boys

           clad in ‘Make America Great Again’ hats, smirking and laughing as one of their

           members appeared to physically intimidate Nathan Phillips resurfaced

           tensions that have been simmering since President Trump’s campaign began.”

               (b)    “At one point, some reportedly chanted, ‘Build the wall!’”

               (c)    “It’s clear from Friday’s incident on the Mall that the young men who

           confronted the Native American protester had somehow internalized that their

           behavior was acceptable.”

        142.   On January 21, 2019, the Post published in print its sixth false and

 defamatory article entitled “Fuller view emerges of conflict on Mall” (the “Sixth Article”).

 A true and correct copy of the Sixth Article is attached hereto as Exhibit I.

        143.   The Sixth Article was published in the Post’s Monday edition of its

 newspaper.

        144.   The Sixth Article references Nicholas by name.

        145.   The Sixth Article communicated the false and defamatory gist that Nicholas

 instigated a confrontation with Phillips and subsequently engaged in racist conduct.

        146.   The Sixth Article communicated the false and defamatory gist that Nicholas

 assaulted and/or physically intimidated Phillips.

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        147.   The Sixth Article communicated the false and defamatory gist that Nicholas’

 behavior violated the fundamental standards of his religious community.

        148.   The Sixth Article communicated the false and defamatory gist that Nicholas’

 behavior violated the policies of his school such that he should be expelled.

        149.   In its Sixth Article, the Post published or republished the following false and

 defamatory statements:

               (a)    “The Israelites and students exchanged taunts, videos show. The

           Native Americans and Hebrew Israelites say some students shouted, ‘Build the

           wall!’”

               (b)    “When I took that drum and hit that first beat … it was a supplication

           to God,” said Nathan Phillips, a member of the Omaha tribe and a Marine

           veteran. ‘Look at us, God, look at what is going on here; my America is being

           torn apart by racism, hatred, bigotry.’”

               (c)    “While the groups argued, some students laughed and mocked them

           . . . . ‘They were sitting there, mocking me as I was trying to teach my brothers,

           so yes the attention turned to them,’ Israel told The Washington Post.”

               (d)    “Phillips said he and his fellow Native American activists also had

           issues with the students throughout the day. ‘Before they got centered on the

           black Israelites, they would walk through and say things to each other, like, ‘Oh,

           the Indians in my state are drunks or thieves,’ the 64-year-old said.”

               (e)    “Phillips said he heard students shout, ‘Go back to Africa!’”

               (f)    “‘They were mocking my ancestors in a chant …’ he said.”

               (g)    “Jon Stegenga, a photojournalist who drove to Washington on Friday

           from South Carolina to cover the Indigenous Peoples March, recalled hearing

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            students say ‘build the wall’ and ‘Trump 2020.’ He said it was about that time

            that Phillips intervened.”

               (h)    “Most of the students moved out of his way, the video shows. But

            Sandmann stayed still. Asked why he felt the need to walk into the group of

            students, Phillips said he was trying to reach the top of the memorial, where

            friends were standing. But Phillips also said he saw more than a teenage boy

            in front of him. He saw a long history of white oppression of Native Americans.

            ‘Why should I go around him?’ he asked. ‘I’m just thinking of 500 years of

            genocide in this country, what your people have done. You don’t even see me

            as a human being.’”

               (i)    “‘He [Phillips] was dealing with a lot of feelings, as he was being

            surrounded and not being shown respect,’ the photographer said.”

               (j)    “School officials and the Catholic Diocese of Covington released a

            joint statement Saturday condemning and apologizing for the students’ actions.

            ‘The matter is being investigated and we will take appropriate action, up to and

            including expulsion,’ the statement said.”

        150.   On January 21, 2019, the Post published online its seventh false and

 defamatory article entitled “Viral standoff between a tribal elder and a high schooler is

 more complicated than it first seemed” (the “Seventh Article”). A true and correct copy

 of the Seventh Article is attached hereto as Exhibit J.

        151.   The Seventh Article references Nicholas by name.

        152.   The Seventh Article communicated the false and defamatory gist that

 Nicholas instigated a confrontation with Phillips and subsequently engaged in racist

 conduct.

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        153.    The Seventh Article communicated the false and defamatory gist that

 Nicholas assaulted Phillips.

        154.    The Seventh Article communicated the false and defamatory gist that

 Nicholas’ behavior violated the fundamental standards of his religious community.

        155.    The Seventh Article communicated the false and defamatory gist that

 Nicholas’ behavior violated the policies of his school such that he should be expelled.

        156.    In its Seventh Article, the Post published or republished the following false

 and defamatory statements:

                (a)    “The Israelites and students exchanged taunts, videos show. The

           Native Americans and Hebrew Israelites say some students shouted, ‘Build the

           wall!’”

                (b)    “When a Native American elder intervened, singing and playing a

           prayer song, scores of students around him seem to mimic and mock him, a

           video posted Monday shows.”

                (c)    “The Kentucky teens’ church apologized on Saturday, condemning

           the students’ actions.”

                (d)    “‘When I took that drum and hit that first beat … it was a supplication

           to God,’ said Nathan Phillips, a member of the Omaha tribe and a Marine

           veteran. ‘Look at us, God, look at what is going on here; my America is being

           torn apart by racism, hatred, bigotry.’”

                (e)    “While the groups argued, some students laughed and mocked them

           . . . .”




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             (f)    “‘They were sitting there, mocking me as I was trying to teach my

          brothers, so, yes, the attention turned to them,’ Israel told The Washington

          Post.”

             (g)    “Phillips said he and his fellow Native American activists also had

          issues with the students throughout the day. ‘Before they got centered on the

          black Israelites, they would walk through and say things to each other, like, ‘Oh,

          the Indians in my state are drunks or thieves,’ the 64-year-old said.”

             (h)    “Phillips said he heard students shout, ‘Go back to Africa!’”

             (i)    “‘They were mocking my ancestors in a chant . . . .’ he said.”

             (j)    “Jon Stegenga, a photojournalist who drove to Washington on Friday

          from South Carolina to cover the Indigenous Peoples March, recalled hearing

          students say ‘build the wall’ and ‘Trump 2020.’ He said it was about that time

          that Phillips intervened.”

             (k)    “Most of the students moved out of his way, the video shows. But

          Sandmann stayed still. Asked why he felt the need to walk into the group of

          students, Phillips said he was trying to reach the top of the memorial, where

          friends were standing. But Phillips also said he saw more than a teenage boy

          in front of him. He saw a long history of white oppression of Native Americans.

          ‘Why should I go around him?’ he asked. ‘I’m just thinking of 500 years of

          genocide in this country, what your people have done. You don’t even see me

          as a human being.’”

             (l)    “‘He [Phillips] was dealing with a lot of feelings, as he was being

          surrounded and not being shown respect,’ the photographer said.”



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               (m)     “School officials and the Catholic Diocese of Covington released a

            joint statement Saturday condemning and apologizing for the students’ actions.

            ‘The matter is being investigated and we will take appropriate action, up to and

            including expulsion,’ the statement said.”

        157.   The First, Second, Third, Fourth, Fifth, Sixth, and Seventh Articles are

 collectively referred to herein as the “Articles.”

        158.   On January 19, 2019, the Post also posted to its Twitter page and published

 to approximately 13 million followers its First Article with the following false and

 defamatory captions, all within a span of 14 minutes, and all within the same thread:

               (a)     “In an interview with The Post, Omaha Tribe elder Nathan Phillips

            says he ‘felt like the spirit was talking through me’ as teens jeered and mocked

            him.”

               (b)     “He was singing the American Indian Movement song of unity that

            serves as a ceremony to send the spirits home. ‘It was getting ugly, and I was

            thinking: ‘I’ve got to find myself an exit out of this situation and finish my song

            at the Lincoln Memorial.’”

               (c)     “Phillips, who fought in the Vietnam War, says in an interview ‘I

            started going that way, and that guy in the hat stood in my way and we were at

            an impasse. He just blocked my way and wouldn’t allow me to retreat.’”

        159.   These three tweets are collectively referred to herein as the “Tweets,” true

 and correct copies of which are attached hereto as Exhibit K.

        160.   In addition to the false and defamatory gists of the First Article, the Tweets

 also independently communicated the false and defamatory gists that Nicholas engaged

 in racist conduct and that Nicholas assaulted Phillips.

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        161.   The Tweets and Articles are collectively referred to herein as the “False and

 Defamatory Accusations.”

        162.   As the natural and foreseeable consequence of its actions, the Post knew and

 intended that its False and Defamatory Accusations would be republished by others,

 including media outlets and others on social media.

                           NICHOLAS IS A PRIVATE FIGURE

        163.   Nicholas is a private figure for the purposes of this defamation action,

 having lived his entire life outside of the public eye.

        164.   Prior to the January 18 incident, Nicholas had no notoriety of any kind in

 the community at large.

        165.   Nicholas did not engage the public’s attention to resolve any public issue

 that could impact the community at large.

        166.   Nicholas made no public appearances prior to the false accusations against

 him.

        167.   Nicholas has not inserted himself into the forefront of any public issue.

        168.   Nicholas’ limited public statements after the accusations against him were

 reasonable, proportionate, and in direct response to the false accusations against him and

 do not render Nicholas a limited purpose public figure.

    THE POST PUBLISHED NEGLIGENTLY AND WITH ACTUAL MALICE

        169.   The Post published its False and Defamatory Accusations negligently and

 with actual knowledge of falsity or a reckless disregard for the truth.

        170.   As one of the world’s leading news outlets, the Post knew but ignored the

 importance of verifying damaging, and in this case, incendiary accusations against a

 minor child prior to publication.

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        171.   The negligence and actual malice of the Post is demonstrated by its utter

 and knowing disregard for the truth available in the complete video of the January 18

 incident which was available contemporaneously with the edited clip the Post chose

 because it appeared to support its biased narrative.

        172.   Instead of investigation and publishing the true story, the Post recklessly

 rushed to publish its False and Defamatory Accusations in order to advance its own

 political agenda against President Trump.

        173.   In doing so, the Post lifted the incident from social media and placed it in

 the mainstream media, giving its False and Defamatory Accusations credibility and

 permanence.

        174.   The Post negligently published its False and Defamatory Accusations by

 departing from the reasonable standard of care employed by journalists, including those

 standards articulated by the Society of Professional Journalists’ Code of Ethics.

        175.   The Post’s collective conduct demonstrates a purposeful avoidance of the

 truth and the publication of the False and Defamatory Accusations with actual knowledge

 of falsity following its review of the complete video evidence and Nicholas’ statement no

 later than January 20.

        176.   The Post negligently and recklessly published its False and Defamatory

 Accusations by failing to conduct a reasonable investigation prior to publication.

        177.   The Post’s failure to investigate is heightened where, as here, the January

 18 incident was not breaking news and involved a minor child.

        178.   The Post negligently and recklessly published its False and Defamatory

 Accusations by failing to conduct a reasonable investigation by not having a credible or

 reliable source for its publications.

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        179.   The Post negligently and recklessly published its False and Defamatory

 Accusations by relying on unreliable and biased sources with questionable credibility.

        180.   Indeed, the Post negligently and recklessly relied upon only Phillips and

 other Native Americans with a biased pre-disposition.

        181.   Phillips, himself, is wholly unreliable and lacks credibility as shown in part

 by his false claim to have served in Vietnam while a member of the military, as a

 professional activist with a known bias against President Trump and his supporters, his

 documented history of making similar false accusations, his use of the January 18 incident

 to promote his own political and personal agenda, the contradictions in his story

 established in his interviews, and that the video evidence that totally refute his story.

        182.   The Post published its False and Defamatory Accusations in continued

 reliance upon those it knew to have political and personal biases, including Chase Iron

 Eyes of the Lakota People Law Project who was, in effect, managing and/or representing

 Phillips, Jon Stegenga who had also attended the Indigenous Peoples March, Deb

 Haaland who is a politician with a demonstrable bias against President Trump, and the

 Hebrew Israelites whose lack of credibility is widely known.

        183.   The Post had obvious reasons to doubt the veracity of its purported

 firsthand sources, including because they are manifestly biased and because the short

 video evidence on which the Post relied did not show Nicholas or the students swarming

 Phillips, uttering the chants or slurs they were accused of making, or Nicholas or the

 students blocking Phillips’ egress.

        184.   The Post further had reason to doubt the veracity of its social media sources,

 including Kaya Taitano and @2020fight. Kaya Taitano also had a known bias having been



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 present to support the Indigenous Peoples March, and the @2020fight account bore all

 the hallmarks of being a fraudulent account with a political agenda, as later proven true.

       185.     The Post consciously elected to ignore this contrary information in favor of

 its pre-conceived false narrative against President Trump and his supporters.

       186.     The only category of individuals present at the January 18 incident that the

 Post chose not to rely upon were the CovCath students.

       187.     The Post negligently and recklessly failed to consult publicly available

 information demonstrating its False and Defamatory Accusations to be false, including,

 without limitation, other video evidence available online demonstrating that Phillips

 specifically approached the students and specifically confronted Nicholas, and that

 Nicholas did not engage in swarming, surrounding, mocking, taunting, blocking, or

 otherwise physically intimidating Phillips or anyone else present.

       188.     Not only was the Post aware that the snippets of video it reviewed did not

 support its False and Defamatory Accusations, but it was also aware that the video it

 reviewed was woefully incomplete, but the Post nonetheless published its accusations

 against Nicholas without any further investigation.

       189.     The Post continued to publish its False and Defamatory Accusations with

 actual knowledge of falsity, having reviewed video evidence and statements of Nicholas

 Sandmann contradicting its False and Defamatory Accusations.

       190.     The Post negligently and recklessly failed to seek information from other

 obvious sources who would have demonstrated its False and Defamatory Accusations to

 be false, including Nicholas, his classmates, and/or the chaperones present at the January

 18 incident.



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        191.   The Post negligently and recklessly published its False and Defamatory

 Accusations despite internal inconsistencies in Phillips’ claims as well as material

 differences in his statements to other outlets published January 19 and 20.

        192.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by failing

 to use heightened sensitivity when dealing with juveniles.

        193.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by failing

 to verify each before publication.

        194.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by failing

 to take special care not to misrepresent or oversimplify its coverage, and by failing to

 provide any appropriate context to its False and Defamatory Accusations.

        195.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by failing

 to avoid stereotyping.

        196.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by failing

 to examine the way in which its own biases and agenda shaped its false reporting.

        197.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by failing

 to treat Nicholas as a human being deserving of respect.

        198.   The Post negligently and recklessly published its False and Defamatory

 Accusations in derogation of accepted principles of journalistic ethics, including by

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 wrongfully placing the anti-Trump, anti-Catholic, and pro-life agenda over the harm its

 False and Defamatory Accusations caused to Nicholas.

        199.    At the time of its initial reporting of and concerning Nicholas, the Post did

 not know Nicholas’ age and did not make any reasonable attempt to ascertain it despite

 the general knowledge that Nicholas was a high school student.

        200. Nicholas’ counsel propounded a demand for retraction upon the Post on

 February 14, a copy of which is attached hereto as Exhibit L.

        201.    The Post’s actual malice is further evidenced by its failure to retract is False

 and Defamatory Accusations.

        202.    The Post published its False and Defamatory Accusations with common law

 malice, including because it intended to harm Nicholas because he was a white, Catholic

 boy wearing a MAGA hat, and consciously ignored the threats of harm that it knew would

 inevitably ensue, in favor of its political agenda.

        203.    The Post published its False and Defamatory Accusations with common law

 malice, demonstrated by its failure to retract its False and Defamatory Accusations

 despite the harm and danger it knew would be inflicted upon Nicholas.

        204.    The Post published its False and Defamatory Accusations with common law

 malice, including because it callously ignored the consequences of its actions upon a

 minor child.

                                          DAMAGES

        205.    The publication of the False and Defamatory Accusations directly and

 proximately caused substantial and permanent damage to Nicholas.




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        206. The False and Defamatory Accusations were republished by third-parties

 and members of the mainstream and social media mob of other bullies, which was

 reasonably foreseeable.

        207.   The False and Defamatory Accusations against Nicholas are defamatory per

 se, as they are libelous on their face without resort to additional facts, and as clearly

 demonstrated here, Nicholas was subjected to public hatred, contempt, scorn, obloquy,

 and shame.

        208. As a direct and proximate result of the False and Defamatory Accusations,

 Nicholas suffered permanent harm to his reputation.

        209. As a direct and proximate result of the False and Defamatory Accusations

 Nicholas suffers and will continue to suffer severe emotional distress.

        210.    As a direct and proximate result of the False and Defamatory Accusations

 Nicholas is forced to live his life in a constant state of concern over his safety and the

 safety of his family.

        211.   The Post published its False and Defamatory Accusations with actual malice

 and common law malice, thereby entitling Nicholas to an award of punitive damages.

        212.   The Post’s conduct was outrageous and willful, demonstrating that entire

 want of care that raises a conscious indifference to consequences.

        213.     Nicholas is entitled to an award of punitive damages to punish the Post and

 to deter it from repeating such egregiously unlawful misconduct in the future.

        WHEREFORE, Nicholas respectfully prays:

        (a)    That judgment be entered against the Post for substantial compensatory

 damages in an amount not less than Fifty Million Dollars ($50,000,000.00);



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         (b)   That judgment be entered against the Post for punitive damages in an

 amount not less than Two Hundred Million Dollars ($200,000,000.00)

         (c)   That Nicholas recover his reasonable attorneys’ fees and expenses from the

 Post;

         (d)   That all costs of this action be taxed to Post; and

         (e)   That the Court grant all such other and further relief that the Court deems

 just and proper, including equitable relief.

         Respectfully submitted this 19th day of February, 2019.

  L. LIN WOOD, P.C.                                  HEMMER DEFRANK WESSELS
                                                     PLLC
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